
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00087-CV


______________________________





IN THE MATTER OF J.M.





                                              


On Appeal from the County Court at Law


Gregg County, Texas


Trial Court No. 5243-J




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Opinion by Justice Moseley



O P I N I O N



	After having amassed a rather impressive record of offenses, J.M., a juvenile, was placed on
probation for felony theft of a motorcycle.  On July 7, 2008, the State filed its motion to modify the
disposition, alleging that J.M. violated the terms of his probation by committing misdemeanor theft
and resisting arrest, among other violations.  The trial court found sufficient evidence supported the
allegations and modified the disposition, sending J.M. to the Texas Youth Commission (TYC).  J.M.
moved for a new trial.  In response to the motion for new trial, the trial court agreed that an error had
been made in the judgment and reformed its judgment to correct that error.  J.M. then filed another
motion for new trial, this time unsuccessfully.  It is from the order sending J.M. to TYC that this
appeal is being sought.

	On appeal, J.M. presents several points of error.  First, he challenges the trial court's decision
to modify his disposition, contending it was an abuse of discretion to do so when the evidence was
legally and factually insufficient to show that he had committed a criminal offense in violation of
the terms of his probation.  Second, he challenges the trial court's order, maintaining it is
insufficiently specific and, therefore, void.  Finally, he lodges two constitutional challenges:  (1) he 
contends the conditions present at the TYC facility constitute cruel and unusual punishment, and
(2)&nbsp;he maintains that the trial court's decision to commit him to TYC, rather than a local or nearby
youth facility, violated his right to equal protection of the law.  

I.	CHALLENGES TO SUFFICIENCY OF THE EVIDENCE

	A.	Applicable Law and Standard of Review

	A trial court's modification of juvenile disposition is governed by Section 54.05 of the Texas
Family Code.  See Tex. Fam. Code Ann. § 54.05 (Vernon 2008).  When a juvenile has previously
engaged in delinquent conduct, the trial court may modify the original sentence to commit the
juvenile to TYC if the trial court determines, by a preponderance of the evidence, that the juvenile
subsequently violated a reasonable and lawful order of the court.  Tex. Fam. Code Ann. § 54.05(f);
In re J.P., 136 S.W.3d 629, 632 (Tex. 2004); In re T.R.S., 115 S.W.3d 318, 320-21 (Tex.
App.--Texarkana 2003, no pet.). 

	Modifying a juvenile's probation is a decision which lies within the sound discretion of the
trial court, reversible on appeal only on a finding that the trial court abused that discretion.  Tex.
Fam. Code Ann. § 54.05; J.P., 136 S.W.3d at 632; In re J.R.C., 236 S.W.3d 870, 875 (Tex.
App.--Texarkana 2007, no pet.); In re M.A., 198 S.W.3d 388, 390-91 (Tex. App.--Texarkana 2006,
no pet.).  A trial court abuses its discretion when it acts arbitrarily or unreasonably or without
reference to guiding rules or principles.  J.R.C., 236 S.W.3d at 875; M.A., 198 S.W.3d at 391.  A trial
court does not abuse its discretion if some evidence supports the decision.  J.R.C., 236 S.W.3d at
875; M.A., 198 S.W.3d at 391.  Put another way, whether there is factually sufficient evidence to
support the trial court's findings is a relevant consideration in determining whether the trial court
abused its discretion.  J.R.C., 236 S.W.3d at 875; In re C.J.H., 79 S.W.3d 698, 702 (Tex.
App.--Fort&nbsp;Worth 2002, no pet.).

	One of J.M.'s contentions on appeal is that the State, having pleaded both theft and resisting
arrest as separate allegations, but under the same paragraph heading in its motion to modify, was
required to prove J.M. committed both offenses in violation of the terms of probation before the trial
court may use those allegations to modify the prior disposition.  We find no authority to support such
a position.  To the contrary, a single violation of the conditions of the juvenile's probation is
sufficient to support a trial court's order modifying a juvenile's disposition.  Tex. Fam. Code Ann.
§ 54.05(f); In re J.A.D., 31 S.W.3d 668, 671 (Tex. App.--Waco 2000, no pet.); In re S.G.V.,
No.&nbsp;04-05-00605-CV, 2006 Tex. App. LEXIS 2688, at *9-10 (Tex. App.--San Antonio Apr. 5,
2006, no pet.) (mem. op.).

	B.	Evidence Presented to Trial Court

	Officer Steve Burnette was off duty and working in a loss-prevention capacity (i.e., as
security) at a convenience store when he saw J.M. and his friend, D.O., secrete two bags of pork
rinds on their persons and then remove the pork rinds (having a retail value of $3.98) from the
convenience store without paying for them.  Burnette provided the name and address of the
convenience store and testified that Don Talley was the owner of that store.  Burnette witnessed J.M.
stick one bag of pork rinds in his friend's shorts and his friend stick another bag in his own shorts
and the two then exited the store.  Burnette testified that he first attempted to detain D.O., who
succeeded in breaking loose and temporarily escaping from the scene.  J.M. resisted as well, but did
not get away. 

	According to Burnette's account of the event:

	I just got ahold of [J.M.] and I got one cuff on him and he started hitting and pushing
me back -- well, pushing me back, not actually hitting, trying to get away from me
and twisting and turning.  I took the one cuff that I had in my hand -- because I had
one on -- and I started pulling down.  And then I got it up behind him, pushed him
over the back of the car and got him handcuffed.  It was a little bit hard because he
had -- not a backpack, but a big bag with him.


Burnette further explained that J.M. was using resistance to "pull away" from him.  He had placed
a cuff on J.M.'s left wrist and was attempting to get the handcuff on the other wrist when J.M. began
to pull away from him.  After J.M. was handcuffed and controlled, he showed Burnette the leg
monitor he was wearing as ordered by the juvenile court in his previous disposition. 

	C.	Discussion

	J.M. contends that the State's evidence failed to establish ownership of the stolen pork rinds;
the State, he maintains, having alleged that "D. Talley" was the owner of the convenience store,
needed to have evidence from Talley on the issue of ownership of the pork rinds in order to sustain
the charge. (1)  The State argues that the evidence from Burnette that he was working for Talley in a
security capacity at the convenience store is sufficient to show that Burnette had a greater right to
possession of the pork rinds than did J.M.

	The State is required to prove J.M. unlawfully appropriated property with intent to deprive
the owner of the property.  Tex. Penal Code Ann. § 31.03(a) (Vernon Supp. 2008).  The Texas
Penal Code defines an "owner" as a person who "has title to the property, possession of the property,
. . . or a greater right to possession of the property than the actor."  Tex. Penal Code Ann.
§&nbsp;1.07(35) (Vernon Supp. 2008).

	The fact that Talley did not testify is of no consequence.  Similarly, the State's position that
Burnette's testimony showed him to have a greater right to possession than J.M. is not central to the
disposition of this issue.  The State presented uncontroverted testimony that Talley was the owner
of the specific convenience store from which J.M. took the pork rinds and, as the owner of the store,
Talley had legal possession of the pork rinds prior to the boys' appropriation.  Burnette testified that
the boys took the pork rinds without paying for them (i.e., stole them).  There is evidence to establish
the challenged element of ownership with respect to the offense of theft.  Again, evidence of only
one violation of the conditions of the juvenile's probation will support the trial court's modification. 
Here, there is evidence that J.M. committed the offense of theft.  There being sufficient evidence that
J.M. committed theft, we conclude that the trial court did not abuse its discretion when it modified
the disposition, and we overrule the points of error which challenge the sufficiency of the evidence
and, concurrently, the contention that the trial court's modification was an abuse of its discretion.

II.	CHALLENGES TO THE LANGUAGE AND VALIDITY OF THE ORDER

	A.	Specificity of Trial Court's Findings

	J.M. argues that "The juvenile court's findings to remove appellant from his home were not
specific enough to warrant removal and sending to the [TYC]."  His contention is that the juvenile
court's order was deficient because it failed to specifically state the reasons for the modification of
the prior disposition. (2)  J.M. relies considerably on the proposition that "A statement to the effect that
the court finds that the child has violated a reasonable and lawful order of the court does no more
than track the statutory language of § 54.05(f)."  A.Y. v. State, 554 S.W.2d 805, 807 (Tex. Civ.
App.--San Antonio 1977, no writ).  The A.Y. court, citing In re A.N.M., 542 S.W.2d 916, 919 (Tex.
Civ. App.--Dallas 1976, no writ), continued, stating that the word "specifically" in Section 54.04(f)
"emphasizes that the legislature intended the court to do more than merely track the statutory
language."  A.Y., 554 S.W.2d at 807.

	The Texas Family Code requires that the trial court make the following three findings to
remove the child from the home and commit the child to TYC:

	1)	It is in the child's best interest to be placed outside the home.

	2)	Reasonable efforts were made to prevent or eliminate the need for the child's removal
from the home and to make it possible for the child to return home.

	3)	The child in the home cannot be provided the quality of care and level of support and
supervision that the child needs to meet the conditions of probation.

Tex. Fam. Code Ann. § 54.05(m).  The trial court's modification order includes all three required
findings.  J.M. complains that the mere tracking of the statutory language in these findings is
insufficient and that the failure to elaborate on those mandatory findings is reversible error.

	In addition to making these mandatory findings, the trial court's order states the following:

		The Court finds beyond a reasonable doubt that the Juvenile did engage in
delinquent conduct and the material allegations in the motion to revoke probation,
to-wit: Heretofore, on the 16th day of August, 2007, the child herein, was found to
have engaged in delinquent conduct in the above styled and numbered cause for the
FELONY offenses of BURGLARY OF A BUILDING (2 COUNTS) and the
MISDEMEANOR offense of THEFT, and on the 16th day of August, 2007, was
placed on probation.  Additionally, on the 29th day of November, 2007, the child
herein, was found to have engaged in delinquent conduct in the above styled and
numbered cause for the FELONY offense of UNAUTHORIZED USE OF A
VEHICLE and the MISDEMEANOR offense of BURGLARY OF A VEHICLE,
and on the 29th day of November, 2007 was placed on probation.  Additionally, 29th
day of May, 2008, the child herein, was found to have engaged in delinquent conduct
in the above styled and numbered cause for the FELONY offense of THEFT, and
on the 29th day of May, 2008, was placed on probation in this cause under the
reasonable and lawful terms and conditions of probation determined by the Court for
a period of one (1) year with Intensive Supervision.


The trial court's order adds reasons for its finding that J.M.'s commitment to TYC is appropriate:

	In addition, the Court commits the child respondent to the Texas Youth Commission
for the following reasons.  

		The seriousness of the offense requires that the child respondent be placed in
a restrictive environment to [protect] the public.  

		Local resources of the Court are inadequate to properly rehabilitate the child
respondent.


	The Texas Family Code provides, "The court shall specifically state in the order its reasons
for modifying the disposition."  Tex. Fam. Code Ann. § 54.05(i).  Compliance with these
requirements is mandatory, for such findings "provide assurance that the child and his family will
be advised of the reasons for [removal from the home] and . . . be in a position to challenge those
reasons on appeal."  J.L.E. v. State, 571 S.W.2d 556, 557 (Tex. Civ. App.--Houston [14th Dist.]
1978, no writ).  When a juvenile court does not comply with the specificity requirements, the
reviewing court does not reverse for a new trial, but, generally, remands instead to the trial court with
instructions for the juvenile judge to render a proper disposition order specifically stating the reasons
for such disposition.  K.K.H. v. State, 612 S.W.2d 657, 658 (Tex. Civ. App.--Dallas 1981, no writ);
A.Y., 554 S.W.2d at 806-08; see Tex. R. App. P. 44.4.

	The modifying order must specifically recite the conduct which prompted the trial court to
modify its prior order of disposition.  See K.W.H. v. State, 596 S.W.2d 248 (Tex. Civ.
App.--Texarkana 1980, no writ); see also In re L.T.H., No. 03-06-00433-CV, 2007 Tex. App.
LEXIS 7340 (Tex. App.--Austin Sept. 6, 2007, no pet.).  Providing specific reasons for the
disposition provides the child with notice of the court's reasons so that the child can determine the
need for an appeal.  In re J.R., 907 S.W.2d 107, 110 (Tex. App.--Austin 1995, no writ). 
Additionally, a record is created for the appellate court to rely on in making its decision about
whether sufficient evidence supports the juvenile court's findings and determinations.  In re L.R., 67
S.W.3d 332, 336-37 (Tex. App.--El&nbsp;Paso 2001, no pet.).  Therefore, merely reciting statutory
language will not be sufficient to justify the juvenile court's ruling.  In re J.T.H., 779 S.W.2d 954,
959 (Tex. App.--Austin 1989, no writ).  However, statutory language supplemented by additional
findings is sufficient to meet the requirements of the Texas Family Code.  See In re P.L., 106 S.W.3d
334, 338 (Tex. App.--Dallas 2003, no pet.) (order tracking language of Section 54.05 and explaining
court's reasons was appropriate).  The inclusion of the offense and its surrounding circumstances in
an order consisting of mainly statutory language is sufficient.  See J.T.H., 779 S.W.2d at 959.

	Here, the trial court included the mandatory statutory findings in compliance with Section
54.05(m). Tex. Fam. Code Ann. § 54.05(m).  It also included considerable specific additional
information, including virtually a complete history of J.M.'s juvenile record.  The trial court's order,
having included the required statutory language and specific information as well, is sufficiently
specific.  We overrule this point of error.

	B.	Error Claimed in Including Both Offenses in One Paragraph

	J.M. contends that the trial court erred by including the offense of resisting arrest and theft
of under fifty dollars in one paragraph, taking the position that such error renders the entire order
void. (3)  He distinguishes the two offenses by correctly pointing out that the offense of resisting arrest
is a class A misdemeanor (punishable by confinement), while theft of under fifty dollars is a class&nbsp;C
misdemeanor (not punishable by confinement).  He continues, citing Section 54.05, which provides
that "a disposition based solely on a finding that the child engaged in conduct indicating a need for
supervision may not be modified to commit the child to the [TYC]."  Tex. Fam. Code Ann.
§&nbsp;54.05(g).  From this, he extrapolates that since theft on these facts would be characterized as
conduct indicating a need for supervision, theft could not be basis for commitment to TYC. (4)

	The State correctly maintains that the theft as alleged would properly support a modification
and commitment because Section 54.05(f) permits modification of probation which has been
previously imposed due to the commission of a felony offense.  The felony offense here is the theft
of the motorcycle, the delinquent conduct for which J.M. was most recently placed on probation. 
See Tex. Fam. Code Ann. § 54.05(f).  The State appropriately contends that the underlying theft of
a motorcycle was the relevant felony for the first adjudication, after which probation may be
modified and the juvenile committed based on a showing that the juvenile violated a term of his
previously assessed probation.  The original order imposing probation based on the delinquent
conduct of theft of the motorcycle required J.M. to obey all laws of the State, a provision that either
offense (either the class A misdemeanor or the class C misdemeanor) violated. 

	C.	Correction of Punishment Available for Theft as Alleged 

	The trial court's order does incorrectly suggest that both offenses are punishable by
confinement:

	X	e.	Violation (1)[ (5)] is a violation of a penal code of Texas
punishable by imprisonment/confinement in jail.

		

Theft of property the value of which is less than fifty dollars is a class C misdemeanor, punishable
as such by fine only.  Tex. Penal Code Ann. § 12.23 (Vernon 2003), § 31.03(e)(1)(A) (Vernon
Supp. 2008).

	This error does not affect the validity of the trial court's judgment because the evidence is
sufficient to show that J.M. committed theft, a criminal offense the commission of which is a
violation of his probation--whether or not it is a jailable offense.  The statement in the order that
both theft under fifty dollars and resisting arrest are punishable by confinement is, nevertheless,
inaccurate.

	The Texas Family Code authorizes this Court to modify the judgment:

		The appellate court may affirm, reverse, or modify the judgment or order,
including an order of disposition or modified disposition, from which appeal was
taken. It may reverse or modify an order of disposition or modified order of
disposition while affirming the juvenile court adjudication that the child engaged in
delinquent conduct or conduct indicating a need for supervision.  It may remand an
order that it reverses or modifies for further proceedings by the juvenile court.


Tex. Fam. Code Ann. § 56.01(i) (Vernon 2008).  We have the authority to correct, modify, and
reform a judgment to make the record speak the truth when the matter has been called to our
attention and we have the necessary information to do so.  In re K.B., 106 S.W.3d 913, 916 (Tex.
App.--Dallas 2003, no pet.); see In re J.K.N., 115 S.W.3d 166, 174 (Tex. App.--Fort Worth 2003,
no pet.) (court is authorized to modify juvenile court's judgment).  The authority of the appellate
courts to reform judgments is not limited to those situations involving mistakes of a clerical nature. 
Bigley v. State, 865 S.W.2d 26, 27 (Tex. Crim. App. 1993).  That said, we are authorized to and do
correct the trial court's order to reflect that the theft which J.M. was found to have committed is a
class C misdemeanor.  Tex. R. App. P. 43.2(b).

III.	CONSTITUTIONAL CHALLENGES

	A.	Cruel and Unusual Punishment

		1.	J.M.'s Account of His Stay at TYC

	At a hearing on his motion for new trial, J.M. testified to a laundry list of unpleasant
occurrences he has experienced while incarcerated at TYC:  (1) He was solicited on four or five
occasions to join a gang at TYC's McLennan County Orientation and Assessment Unit.  (2)  He has
witnessed a fight every day that he has been there, although he has not engaged in any himself. 
(3)&nbsp;&nbsp;He testified that there are usually only two staff members (usually women) to supervise the
twenty-five boys in each unit or dormitory and that the staff acts as if they are not really concerned
about the fighting.  (4)  On several occasions, the juvenile in the bed next to J.M. threatened to shank
him with a filed-down four-to-five-inch screw and then to put his penis in J.M.'s ear.  Although J.M.
reported the threats to staff members, they took no action to remedy it.  After having reported the
situation to the supervisor and asking to be moved, J.M. was only moved to the other side of the
room.  (5)  He was threatened with violence for his decision to not join a gang. 

	On cross-examination, J.M. confirmed that there are surveillance cameras installed on the
premises.  He suggests that as a result of the threats against him, there was a dormitory shakedown,
during which the staff recovered five screws in the possession of the person who had threatened J.M. 
J.M. went on to say that his nemesis had surreptitiously placed one of those screws under J.M.'s own
bed and that the other young man had been sent to a security lockup for twenty-four hours as a
disciplinary measure.  J.M. admitted that this was the only specific person with whom he had
continued, identifiable problems.  He did, however, report more general conflicts with the unwanted
gang recruitment.  He testified that the constant fighting results in constant reporting of those fights. 

		2.	When Conditions of Confinement Can Be Cruel and Unusual

	The Eighth Amendment prohibits the infliction of punishment that can be characterized as
"cruel and unusual."  U.S. Const. amend. VIII; Tex. Const. art. I, § 13.  "Juvenile cases, though
classified as civil proceedings, are quasi-criminal in nature and frequently concern constitutional
rights and procedures normally found only in criminal law."  In re H.V., 252 S.W.3d 319, 323 (Tex.
2008).  Due to this similarity, we examine cases involving claims of cruel and unusual punishment
in the context of confinement for criminal offenses for guidance here.  Confinement in a state-prison
facility is a form of punishment subject to scrutiny under the Eighth Amendment.  See Rhodes v.
Chapman, 452 U.S. 337, 345 (1981).  The Eighth Amendment's prohibition of cruel and unusual
punishment was made applicable to the states by the Due Process Clause of the Fourteenth
Amendment.  Robinson v. California, 370 U.S. 660 (1962); Ladd v. State, 3 S.W.3d 547, 564 n.10
(Tex. Crim. App. 1999).  

	We note that the Constitution does not mandate comfortable prisons.  See Rhodes, 452 U.S.
at 349.  

	Today the Eighth Amendment prohibits punishments which, although not physically
barbarous, "involve the unnecessary and wanton infliction of pain," or are grossly
disproportionate to the severity of the crime.  Among "unnecessary and wanton"
inflictions of pain are those that are "totally without penological justification."


Id. at 346 (citations omitted).  There should not be a gross disproportionality between the conditions
of confinement and the severity of the offense or condition which led to the confinement.  See id.
at 347. 

	J.M. does not address the seriousness of the offenses with which he was charged or the
persistence of his conduct that precipitated the order of commitment to TYC.  Further, the thrust of
his argument does not advance the theory that he has been singled out for any treatment by TYC
officials as any punitive measure.  Rather, his allegations seem to rest upon the contention that the
generally dangerous or frightening conditions to which virtually all those incarcerated at TYC are
subjected during their stays amounts to the imposition of cruel and unusual punishment. 

	Much of the caselaw defining the term "cruel and unusual" rise from actions in tort wherein
inmates in prison situations have sought to recover damages from the prison officials for what they
have alleged were their subjection to cruel and unusual punishment.  While not controlling here, it
provides some guidance in drawing the parameters of the term "cruel and unusual."

	In order to prove a claim of Eighth Amendment cruel and unusual punishment in a tort case
against prison officials involving the "prison-conditions" context, an inmate must demonstrate:
(1)&nbsp;that the deprivation alleged was "sufficiently serious" and (2) that there was an unnecessary and
wanton infliction of pain.  Farmer v. Brennan, 511 U.S. 825 (1994).

	In cases involving a failure to prevent harm, the plaintiff must demonstrate an incarceration
under conditions posing a substantial risk of serious harm.  Scott v. Britton, 16 S.W.3d 173, 181
(Tex. App.--Houston [1st Dist.] 2000, no pet.).  In order to be "[O]bjectively, 'sufficiently serious'
.&nbsp;.&nbsp;. a prison official's act or omission must result in the denial of the 'minimal civilized measure of
life's necessities.'"  Farmer, 511 U.S. at 834 (citations omitted).  Although routine discomfort
inherent in the prison environment is inadequate to satisfy an Eighth Amendment inquiry, only
"those deprivations denying 'the minimal civilized measure of life's necessities' . . . are sufficiently
grave to form the basis of an Eighth Amendment violation."  Wilson v. Seiter, 501 U.S. 294, 298
(1991) (quoting Rhodes, 452 U.S. at 347).  In determining whether a constitutional violation has
occurred, we must consider the circumstances, nature, and duration of a deprivation of these
necessities.  Johnson v. Lewis, 217 F.3d 726, 731 (9th Cir. 2000). 

	An inmate does have an Eighth Amendment right to be reasonably protected from the
constant threat of assaults and violence by fellow inmates.  See City of Waco v. Hester, 805 S.W.2d
807, 812-13 (Tex. App.--Waco 1990, writ denied).  A pervasive risk of harm is deemed to exist
when inmates are assaulted by other prisoners with such frequency that there is a reasonable fear for
their safety and jail personnel are reasonably apprised of the existence of the threat to inmate safety
and the need for protective action.  Id. at 816; see also State v. Mungia, 119 S.W.3d 814, 817 (Tex.
Crim. App. 2003) (concluding no constitutional violation had occurred where record showed only
the possibility appellee may be killed if sent to prison).

	In determining whether the conditions of confinement violate the Eighth Amendment, the
courts consider all of the circumstances of incarceration in order to arrive at a decision as to whether
the circumstances affront contemporary standards of decency.  Rhodes, 452 U.S. at 362-63; Stewart
v. Winter, 669 F.2d 328, 335-36 (5th Cir. [Miss.] 1982).  The several conditions that might lend
themselves to finding an overall violation must have a mutually enforcing effect that results in the
deprivation of a single, identifiable human need such as food, warmth, or exercise.  Wilson, 501 U.S.
at 304.

	Here, the evidence upon which J.M. relies is primarily anecdotal, showing attempts at
intimidation by other TYC detainees and repeated fights among those other detainees, all of which
apparently has caused him to fear for his safety.  He has not alleged that he has actually suffered any
physical harm by either other detainees or action on the part of TYC officials to unreasonably
discipline him.  

	For the most part, people who are prone to obey rules and to follow the general mores of
society are unlikely to be housed in TYC; it is not a church camp.  It is likely that J.M.'s experience
is not substantially different from most other persons in the custody of TYC and he is, in essence,
requesting that we find that anyone who is placed in the custody of TYC has been deprived of
constitutional rights.  J.M.'s testimony and the quarterly reports concerning the reporting of
incidences made within TYC do not establish an Eighth Amendment violation.  The public has heard
that TYC has experienced a good deal of safety concerns and problems with reporting of incidences,
especially concerning misconduct by staff.  However, J.M.'s account of his treatment and experience
in the McLennan Unit fails to demonstrate the evidence of cruel and unusual punishment.  According
to J.M., he did report the threats made from the other juvenile concerning the shank and threatened
sexual assault.  The record suggests that at some point following his report or reports, the staff
conducted a search of the dormitory and recovered the shanks, one of which was found under J.M.'s
bed.  Further, J.M. was moved away from that particular juvenile.  While it is not entirely clear, it
appears there is a common sleeping room at the facility, and J.M. was moved to the other side of that
common area.  J.M.'s specific testimony concerning the threats while in the facility are limited to the
threats from this juvenile which, from the record, appear to have been addressed.  His more general
testimony regarding the gang recruitment provides very little detail other than a threat of being
accosted if he did not join.  The record is not clear that he reported those incidents.

	It appears that J.M.'s stay at the facility has not been a pleasant one; the Constitution does not
guarantee that it will be. (6)  It does appear the staff has taken measures to remove or reduce the risk
to J.M. posed by the threatening juvenile.  So, now that the search removed the shanks with which
he was threatened and removed J.M. away from that juvenile, J.M. cannot establish that he continues
to experience a sufficiently serious risk of harm.  Further, and more definitively, J.M.'s contention
fails to establish that TYC officials did not take steps to address J.M.'s concerns for safety, and TYC
cannot be said to have acted in reckless disregard of the threats posed to J.M.  We overrule J.M.'s
point of error concerning cruel and unusual punishment. (7)

		3.	Further Considerations Concerning Judicial Role

	Further, we are mindful of our role in the administration of justice.  When reviewing policies
designed to preserve internal order, discipline, and security, a court should accord broad deference
to prison administrators regarding the reasonableness of the scope, the manner, the place, and the
justification of a particular policy.  Block v. Rutherford, 468 U.S. 576, 585 (1984); Hay v. Waldron,
834 F.2d 481, 486 (5th Cir. 1987).  In other words, courts should play a very limited role in the
administration of detention facilities.  Block, 468 U.S. at 584.

	B.	Equal Protection

		1.	J.M.'s Contention

	The Equal Protection Clause of the Federal and State Constitutions prevents the government
from discriminating against any person or class of persons.  U.S. Const. amend. XIV; Tex. Const.
art. I, § 3; see Ingram v. State, 124 S.W.3d 672, 677-78 (Tex. App.--Eastland 2003, no pet.).  One
claiming that his right to equal protection of the law must show that a state actor intentionally
discriminated against him because of his membership in a protected class.  Henry v. Metro. Sewer
Dist., 922 F.2d 332, 341 (6th Cir. 1990).  "Unless a statute challenged on equal-protection grounds
interferes with a fundamental right or discriminates against a suspect class, we review that statute
using the rational-basis test."  Ingram, 124 S.W.3d at 677 (citing Black v. State, 26 S.W.3d 895 (Tex.
Crim. App. 2000)).  The rational-basis test provides that legislation is presumed to be valid and will
be sustained if the classification drawn by the statute is rationally related to a legitimate state interest. 
City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432 (1985).  Protection of the public health,
safety, morals, or some other phase of the general welfare is a legitimate state interest.  Ingram, 124
S.W.3d at 678.  The Ingram court quotes:

	The Legislature may classify law violators and impose different penalties, inhibitions
and restrictions upon the several classes, provided there is a reasonable basis for the
classification.  In determining whether there is a reasonable basis for the
classification there is a general presumption that the Legislature has done its duty, not
violated the Constitution; and therefore the classification will be upheld unless it
appears, clearly and without doubt, that it has no reasonable basis of support.


Ingram, 124 S.W.3d at 677-78 (quoting Watts v. Mann, 187 S.W.2d 917, 924 (Tex. Civ.
App.--Austin 1945, pet. ref'd)).  An equal protection challenge to the rational basis will fail "if there
is any reasonably conceivable state of facts that could provide a rational basis for the classification." 
FCC v. Beach Commc'ns, Inc., 508 U.S. 307, 313 (1993).

	J.M. argues that "[O]thers who evidently have access to money through county funding are
placed [at the Willoughby Center]."  We have taken J.M.'s argument as one complaining of the
following state action:  the trial court's decision to commit him to custody of TYC rather than placing
him in another facility such as the Willoughby Center.  Although J.M. argues that he is a member
of a suspect class, he does not develop its application.  The matter is complicated by the discussion
at the modification hearing concerning state funding.  That aside, according to the Sanction Level
Assignment Model, the trial court could have been authorized to assign J.M. a level higher than five. (8) 
Section 59.009 could be applied to these facts, assigning a level six sanction including commitment
to TYC.  The record before us suggests that the Willoughby Center is a place for sanction level five
offenders.

		2.	Examining Funding Considerations

	Here, there was some discussion regarding availability of state funding, but nothing
concerning J.M.'s economic status.  His ability to pay any fines or restitution does not appear to have
been a factor in the trial court's decision to commit J.M. to TYC.

	Funding considerations were discussed as a part of the trial court's decision to commit a
juvenile to TYC in In re S.G., No. 04-04-00475-CV, 2005 Tex. App. LEXIS 2560 (Tex.
App.--San&nbsp;Antonio Apr. 6, 2005, no pet.) (mem. op.).  In S.G., the trial court had agreed with the
probation officer's recommendation that placement at a county facility "was inappropriate because
it was 'probation resources.'"  Id. at *11.  The trial court ultimately decided that commitment to TYC
was more appropriate because "resources would come from the State rather than the County."  Id. 
The S.G. court explained that such reason did not conform to the stated goals of the juvenile justice
code.  See Tex. Fam. Code Ann. § 51.01 (Vernon 2008) (stating that primary concern of juvenile
justice code is to provide for protection of public and public safety balanced with goal of providing
for care and protection of juvenile while placing an emphasis on a program of treatment, training,
and rehabilitation).  The court reversed the trial court's judgment, concluding that the written order's
primary reason for revocation was that the juvenile had exhausted probation's attempts to rehabilitate
her.  S.G., 2005 Tex. App. LEXIS 2560, at *12.  The record, however, showed insufficient evidence
to support the trial court's conclusion that probation had expended all resources in an effort to
rehabilitate the juvenile.  Id.

	Unlike S.G., the record here contains sufficient evidence to support the trial court's decision
to place J.M. in TYC custody.  The trial court did not indicate that he made such decision based on
any economic considerations.  The discussion of funding at the hearing here was, as the S.G. court
explained, inconsistent with the stated goals of the juvenile justice code.  The records indicate that
J.M. was no longer eligible for placement as a level five offender.  The trial court's decision here was
supported by relevant evidence, and the record shows that the funding discussion, although
inappropriate, was not the basis for the trial court's decision.

	Looking at the trial court's action and considering that J.M. is not a member of a suspect
class, we apply the rational-basis test.  Here, based on several serious felonies and misdemeanors,
the trial court could have assigned a sanction level higher than that permitted at the specific facility
which J.M. prefers, providing a rational basis for the action and classification.  Applying the
rational-basis test to the Sanction Level Assignment Model in Section 59.003 of the Texas Family
Code, we determine that the State has a legitimate interest in protecting the public health, safety, and
morals.  J.M. has not overcome the general presumption that the State has not violated the United
States or Texas Constitutions.  We overrule this point of error.

IV.	CONCLUSION

	Because the trial court did not abuse its discretion by modifying J.M.'s disposition and
committing him to TYC, because the modification order is sufficiently specific, and because J.M.
has failed to establish that his commitment to TYC is cruel and unusual punishment or is a violation
of his right to equal protection of the law, we overrule his points of error.  J.M. is correct in that the
modification order contains an error when it states that theft, in this situation, is punishable by
confinement; that error, however, does not affect the validity of the order or the outcome of the case. 
We have and do exercise the authority to correct the trial court's order to reflect that the offense of
theft, on these facts, is not, as the order states, punishable by confinement.  We affirm the judgment
as corrected.




						Bailey C. Moseley

						Justice


Date Submitted:	April 2, 2009

Date Decided:		June 16, 2009


1. The State contends the motion for new trial failed to preserve the issue of factual sufficiency
for this Court's review because the assertion in the motion for new trial was too general and because
defense counsel did not present an oral argument to the trial court concerning the factual sufficiency
of the evidence at the hearing on the motion for new trial.  Generally, to be preserved for the court's
review, the issue of factual sufficiency of the evidence must first be raised in a motion for new trial
to be preserved for this Court's review.  In re M.R., 858 S.W.2d 365 (Tex. 1993) (Tex. R. Civ. P.
324(b) requires such).  But see In re J.L.H., 58 S.W.3d 242, 246 (Tex. App.--El Paso 2001, no pet.)
(this preservation requirement no longer applies to juvenile proceedings since proceeding resembles
much more a criminal proceeding).

	The Austin court addressed the preservation requirement in a juvenile case coming to it in
a similar procedural posture as the instant case.  See In re E.G., 212 S.W.3d 536, 538 (Tex.
App.--Austin 2006, no pet.).  The court cited the general rule found in Rule 33.1 of the Texas Rules
of Appellate Procedure concerning preservation of error.  Tex. R. App. P. 33.1.  It noted, however,
that in an appeal from a nonjury case, an appellant may attack the legal or factual insufficiency of
the evidence for the first time on appeal.  E.G., 212 S.W.3d at 538; see Tex. R. App. P. 33.1(a), (d).

	The issue of factual sufficiency was raised in J.M.'s motion for new trial.  Whether it had to
be in order to be reviewed is an issue on which sister courts are divided.  There is some persuasive
authority that would suggest that there was no need to raise the issue in a motion for new trial in
order to preserve any error.  At any rate, he did.  So, to the extent that factual sufficiency is a distinct
issue, rather than merely a consideration in determining whether the trial court abused its discretion,
the issue is properly before this Court. 
2. Although J.M. does not challenge the order as too specific, we note that a commitment order
to TYC based on a modification of probation for the violation of probation by committing a new act
of delinquent conduct should not recite the facts of the new delinquent conduct case.  The order need
only state that the child violated the first condition of his probation and, in so doing, violated a
reasonable and lawful order of the court.  To include the new offense in the order could subject the
child to a longer minimum stay in the commission without the full due process rights afforded a child
in an adjudication hearing.  In re S.J., 940 S.W.2d 332, 338-39 (Tex. App.--San Antonio 1997, no
writ).
3. J.M. mentions the irregularity in the written order's use of "Your Petitioner," but does not
seem to specifically complain of any error associated with the mix-up in perspective.  The State,
understanding that J.M. complains of this use, asks the Court to reform the errors, maintaining they
are clerical in nature and merely a result of a cut and paste approach to drafting the trial court's order. 
Indeed, the State's application to revoke probation does contain such language.  However, since J.M.
does not contend the language renders the order void or represents reversible error, we do not address
the issue.  
4. A class C misdemeanor is a fine-only offense which is not considered delinquent conduct;
instead it can be considered conduct indicating a need for supervision.  Tex. Fam. Code Ann.
§&nbsp;51.03(a), (b)(1)(A) (Vernon 2008).  J.M.'s contention may be a successful one if J.M.'s probation
were based on theft under fifty dollars or other conduct indicating a need for supervision and if the
State were now moving to modify the  disposition by revoking that probation.  Such is not the case. 
Here, we are called on to review a modification proceeding in which the State alleged that J.M.
violated the terms of his probation by committing criminal offenses.  So, in this regard, whether J.M.
could be committed to TYC if adjudicated guilty of one offense or the other has no bearing on the
outcome of this proceeding.
5. The reference to "(1)" comes from the State's motion in which it alleged:


	(1)	On or about the 27th day of June, 2008, the said child violated a penal
law of this State punishable by imprisonment or confinement in jail,
to-wit:  RESISTING ARREST, § 38.03 of the Texas Penal Code, in
that he did then and there, in the County of Gregg and State of Texas,
intentionally or knowingly prevent or obstruct S. Burnette, a person
the child knew to be a peace officer, from effecting an arrest of said
juvenile-respondent, by using force against said peace officer, to-wit: 
by pushing said officer with his hand, the same being a Class A
misdemeanor if committed as an adult.

		

		On or about the 27th day of June, 2008, the said child violated a penal
law of this State punishable by fine only, to wit:  THEFT, §&nbsp;31.03 of
the Texas Penal code, in that he did then and there, in the County of
Gregg and State of Texas, unlawfully appropriate, by acquiring and
otherwise exercising control over, property, to-wit:  food, of the value
of less than $50.00, from D. Talley, the owner thereof, with intent to
deprive the owner of the property, the same being a Class C
misdemeanor if committed as an adult.
6. J.M. relies a great deal on Morales v. Turman, 364 F. Supp. 166 (E.D. Tex. 1973).  In
Morales, the court addressed both widespread and rampant physical and psychological abuse by staff
at TYC, including segregation and beatings and the practice of placing juveniles in a TYC facility
without a hearing on the danger to society posed by the juvenile.  The Morales court concluded that
the treatment of the class of juveniles ran afoul of the Eighth Amendment and that the placement in
TYC custody without a hearing violated the juveniles' rights to due process.  Based on these
conclusions, the court ordered emergency temporary relief in 1973, enjoining a number of TYC's
practices, setting forth practices to screen prospective TYC staff, and prohibiting segregation.  Id.
at 175-76.  Ten years and much litigation later and after a virtual overhaul of the juvenile justice
system, the case was settled.  See Morales v. Turman, 569 F. Supp. 332 (E.D. Tex. 1983).  The
instant case varies in both nature and degree.  J.M. does not allege physical abuse by TYC staff; he
alleges the threat by other inmates poses a risk of harm to him and that the staff has failed to
adequately reduce that risk.  Further, the degree of abuse and improper procedure present in the
Morales case is shocking, far more widespread and identifiable than the evidence presented here. 
We also note that the Morales case was not, as here, based almost solely upon the personal anecdotal
renditions of a single youth, but involved an in-depth examination of the entire TYC system.  
7. Even if J.M. satisfied the Farmer test, the proper remedy is likely not to allow J.M. to be
back on probation as he requests.  A constitutional violation relating to prison conditions does not
usually entitle a prisoner to release, but to an injunction against the prohibited practices or an order
requiring the correction of unconstitutional conditions.  Cook v. Hanberry, 596 F.2d 658, 660 (5th
Cir. 1979).  In some instances, courts have ordered prison officials to station specific numbers of
guards in areas where the threat of violence was high in order to protect the general inmate
population.  See Williams v. Edwards, 547 F.2d 1206, 1213-14 (5th Cir. 1977).
8. J.M does not and, it seems, is not permitted to appeal a departure from the Sanction Level
Assignment Model.  Tex. Fam. Code Ann. § 59.014(3) (Vernon 2008).  The model is treated more
as a guide than a mandatory classification scheme.  In re C.C., 13 S.W.3d 854, 858 (Tex.
App.--Austin 2000, no pet.).

